            Case 1:21-cr-00175-TJK Document 282 Filed 01/21/22 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,



       v.                                           Criminal Action No. 21-175 (TJK)

ETHAN NORDEAN et al.,

                Defendants.


                                     SCHEDULING ORDER

       The parties appeared before the Court on January 11, 2022, for a status conference in this

matter. As discussed at that conference, it is hereby ORDERED that:

       1. The United States shall notify the Defendants of its intention to introduce any 404(b)

evidence by February 11, 2022;

       2. The parties shall file any pretrial motions, including motions to suppress and motions

in limine, by March 16, 2022; oppositions to the motions shall be filed by March 30, 2022; and

replies shall be filed by April 6, 2022;

       3. The parties shall file on the docket and submit to chambers in Microsoft Word format

at Kelly_Chambers@dcd.uscourts.gov a Joint Pretrial Statement, which shall include the

information set forth in Attachment A to this Order, by April 13, 2022;

       4. The parties shall appear for a motions hearing and pretrial conference on April 22,

2022, at 9:30 a.m. via videoconference; and

       5. Jury selection and trial shall commence on May 18, 2022, at 9:00 a.m. in the

Ceremonial Courtroom.
         Case 1:21-cr-00175-TJK Document 282 Filed 01/21/22 Page 2 of 3




SO ORDERED.

                                                /s/ Timothy J. Kelly
                                                TIMOTHY J. KELLY
                                                United States District Judge

Date: January 21, 2022




                                       2
         Case 1:21-cr-00175-TJK Document 282 Filed 01/21/22 Page 3 of 3




                                          Attachment A

The Joint Pretrial Statement shall include the following:

   a. A one-paragraph joint statement of the case for the Court to read to prospective jurors;

   b. Proposed voir dire questions that include:
        i.   The voir dire questions on which the parties agree; and
       ii.   The voir dire questions in which the parties disagree, with specific objections
             noted below each disputed question and supporting legal authority (if any);

   c. Proposed jury instructions, which are formatted so that each instruction begins on a new
      page, and indicate:
         i.  The instructions to which the parties agree;
        ii.  The instructions to which the parties disagree, with specific objections noted
             below each disputed instruction and supporting legal authority (if any); and
       iii. The proposed instruction’s source (e.g., the Red Book, Matthew Bender’s Federal
             Jury Instructions), or, for modified or new instructions, its supporting legal
             authority;

   d. A list of expert witnesses, accompanied by a brief description of each witness’s area of
      expertise and expected testimony, followed by specific objections (if any) to each
      witness;

   e. A list of prior convictions that the government intends to use for impeachment or any
      other purpose, followed by specific objections (if any) to that use;

   f. A list of exhibits that the government intends to offer during trial, with a brief description
      of each exhibit;

   g. Any stipulations executed or anticipated to be executed;

   h. A list of lesser included offenses for which any party may seek a jury instruction; and

   i. A proposed verdict form that includes a date and signature line for the jury foreperson, as
      well as proposed special interrogatories (if any).




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